UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)


Sadek and Cooper Law Offices
1315 Walnut Street, Suite 502
Philadelphia, Pa 19107




                                                        Case No.:      18-33015
                                                                    _______________
In Re:
Richard R. Harker                                       Chapter:          13
Natalie J. Harker
                                                        Judge:           ABA
                                                                    _______________




                    ORDER GRANTING SUPPLEMENTAL CHAPTER 13 FEES


   The relief set forth on the following page is ORDERED.
The applicant having certified that legal work supplemental to basic chapter 13 services has been
rendered, and no objections having been raised, it is:


                           Brad J. Sadek, Esq.
ORDERED that ____________________________________________, the applicant, is allowed
                 1,500.00
a fee of $ ___________________ for services rendered and expenses in the amount of
       1,500.00
$__________________                        1,500.00
                    for a total of $_____________________ . The allowance is payable:

       ☐ through the Chapter 13 plan as an administrative priority.

       ☐ outside the plan.


                                                                   2,171.00
The debtor’s monthly plan is modified to require a payment of $______________ per month for
     46
____________ months to allow for payment of the above fee.




                                                                                          rev.8/1/15




                                                 2
